                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                  Case No. 12-CR-88

MOHAMMED MAZHARUDDIN, et. al.
             Defendants.


                                    DECISION AND ORDER

       The government obtained a forty-eight count indictment charging nine defendants with

trafficking in contraband cigarettes and possession and sale of counterfeit tax stamps.

Specifically, count one charged defendant Mohammed Mazharuddin and the others with

conspiring to ship, transport, receive, possess, sell, distribute, and purchase contraband

cigarettes, in violation of 18 U.S.C. § 2342(a), and to knowingly receive, possess, sell, and

dispose of falsely made and counterfeited tax stamps, in violation of 18 U.S.C. § 2315. The

indictment also charged numerous substantive counts, including one against Mazharuddin, of

transporting, receiving, possessing, selling, distributing, and purchasing contraband cigarettes,

contrary to 18 U.S.C. § 2342(a).

       Mazharuddin filed motions to dismiss the indictment as insufficient and for a bill of

particulars. The magistrate judge handling pre-trial proceedings in this case denied the latter

and recommended denial of the former. Mazharuddin objects. I review the magistrate judge’s

recommendation on the motion to dismiss de novo, see Fed. R. Crim. P. 59(b), but may set

aside her order on the non-dispositive motion for a bill of particulars only if it is contrary to law

or clearly erroneous, see Fed. R. Crim. P. 59(a).



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                         I. MOTION TO DISMISS THE INDICTMENT

A.     Applicable Legal Standards

       Under Fed. R. Crim. P. 7(c)(1), the indictment must “be a plain, concise, and definite

written statement of the essential facts constituting the offense charged.” An indictment is

sufficient if it identifies the elements of the crime, fairly informs the defendant of the charge so

that he may prepare a defense, and enables the defendant to evaluate any double jeopardy

problems. Nothing more is required, United States v. Phillips, 645 F.3d 859, 861 (7th Cir.

2011); the indictment need not “exhaustively recount the facts surrounding the crime’s

commission,” United States v. Agostino, 132 F.3d 1183, 1189 (7th Cir. 1997), or provide the

details of how it will be proved, id. at 1191. In considering the sufficiency of an indictment, the

court considers each challenged count as a whole and refrains from reading it in a hyper-

technical manner. The indictment must be construed according to common sense and read

to include facts that are necessarily implied. United States v. Palumbo Bros., Inc., 145 F.3d

850, 860 (7th Cir. 1998). An indictment that simply tracks the language of the charging statute

will generally suffice. Agostino, 132 F.3d at 1189.

       Further, at the pre-trial stage, the indictment is tested solely by its sufficiency to charge

an offense, regardless of the strength or weakness of the government’s case. See United

States v. Sampson, 371 U.S. 75, 78-79 (1962). The defendant has no right to challenge the

sufficiency of the government’s evidence or present his own version of events via pre-trial

motion to dismiss. See, e.g., United States v. Moore, 563 F.3d 583, 586 (7th Cir. 2009); United

States v. Todd, 446 F.3d 1062, 1067 (10th Cir. 2006); United States v. Yasak, 884 F.2d 996,

1001 (7th Cir. 1989).



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B.     The Instant Indictment

       The twenty-one page indictment in this case includes a detailed introduction, explaining

the manner in which cigarettes are taxed in Illinois and Wisconsin, as well as the requirements

of federal law regarding so called “unstamped” cigarettes (i.e., those not bearing tax stamps

certifying that applicable taxes have been paid). Count one (the conspiracy count) then

alleges, tracking the statutory text, that beginning or about February 1, 2011, and continuing

to on or about April 24, 2012, the defendants conspired “to knowingly ship, transport, receive,

possess, sell, distribute, and purchase contraband cigarettes,” and “to knowingly receive,

possess, sell, and dispose of falsely made and counterfeited tax stamps, which were moving

as, were part of, and constituted interstate commerce, knowing such tax stamps to have been

falsely made, forged, altered, and counterfeited.” (Indictment at 4.) The indictment further

alleges that the object of the conspiracy was for the defendants to unlawfully enrich themselves

by receiving, purchasing, selling, and distributing contraband cigarettes, while evading

applicable state cigarette taxes. In the “manner and means” section, the indictment alleges

that the defendants acquired untaxed/unstamped cigarettes from a non-authorized source in

this district and transported them for distribution and sale in Illinois. The indictment then sets

forth forty-six overt acts in furtherance of the conspiracy. (Indictment at 6-13, ¶¶ 20-65.)

       Regarding defendant Mazharuddin, the indictment alleges that between “February 14,

2011, and February 26, 2011, Mohammed Mazharuddin provided contact information for an

undercover ATF agent (UC) to Mohammad Uddin, identifying UC, as a non-regulated,

unauthorized source of untaxed/unstamped cigarettes.” (Indictment at 6, ¶ 20.) The indictment

indicates that in March 2011 Uddin purchased untaxed/unstamped cigarettes from the UC.

The indictment further alleges that on “or about April 6, 2011, Mazharuddin placed a cellular

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telephone call to UC to advise UC that Mazharuddin had referred Uddin to UC for the purpose

of purchasing untaxed/unstamped cigarettes.” (Indictment at 6, ¶ 24.) The indictment indicates

that Uddin purchased additional quantities of contraband cigarettes from the UC throughout

2011. The indictment further alleges that:

       59.   On or about February 20, 2012, Mazharuddin contacted UC to arrange a
       purchase of untaxed/unstamped cigarettes by Uddin and a second individual who
       he described as the owner of several Milwaukee area gas stations.

       60.      On or about February 22, 2012, Mazharuddin met UC in Milwaukee,
       Wisconsin, and advised UC that the purchase by Uddin would have to be
       postponed, as Uddin was having trouble getting all of the money from his buyer
       in Illinois.
       ...
       63.      On or about March 5, 2012, Mazharuddin contacted UC to set up a
       purchase of untaxed/unstamped cigarettes by Uddin and Maher Sunnokrot, who
       Mazharuddin then identified as his business partner from Milwaukee.
       Mazharuddin told UC that his partner wanted 10 master cases (120,000
       untaxed/unstamped cigarettes) and Uddin wanted 3000 cartons (600,000
       untaxed/unstamped cigarettes).

       64.   On or about March 7, 2012, Uddin and Sunnokrot purchased 113 master
       cases (1,356,000 untaxed/unstamped cigarettes) from UC in Milwaukee,
       Wisconsin, for $169,440.00. They loaded the cases into a U-Haul truck and
       transported them to a warehouse located in Frankfort, Illinois, for sale by co-
       conspirators.

       65.      On or about April 11, 2012, Mazharuddin, Uddin and UC met at a location
       in Milwaukee, Wisconsin, where they discussed problems which occurred with
       a previously scheduled untaxed/unstamped cigarette deal and made plans to
       facilitate future deals.

(Indictment at 12-13.)

       The indictment also sets forth forty-one substantive counts of unlawful transportation,

receipt, possession, sale, distribution, and purchase of contraband cigarettes, incorporating the

previous allegations by reference.       Count forty-two alleges that on March 7, 2012,

Mazharuddin, Uddin, and Sunnokrot knowingly and unlawfully obtained 113 cases of


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contraband cigarettes, contrary to 18 U.S.C. §§ 2342(a) & 2.

C.     Analysis

       The indictment sufficiently sets forth the elements of the offenses by tracking the

statutory text, and Mazharuddin makes no argument regarding double jeopardy issues. Rather,

he contends in his objections that the indictment fails to state the essential facts constituting

the charged offenses. He acknowledges that the indictment sets forth numerous overt acts

committed in furtherance of the conspiracy. However, with regard to him, Mazharuddin

contends that it is only alleged that he provided contact information for an undercover ATF

agent, which he argues does not rise to the level of sufficiency required of an indictment.

Mazharuddin states that although the indictment may be sufficient with regard to other

defendants, who were buying and selling contraband cigarettes and enriching themselves,

there is no allegation that he did so.

       Mazharuddin’s truncated reading of the indictment skips over the allegation that he

identified the UC as “a non-regulated, unauthorized source of untaxed/unstamped cigarettes,”

connecting the source of the contraband cigarettes (the UC) with a distributor (Uddin).

Mazharuddin also omits any discussion of his later meeting with the UC to postpone a sale to

Uddin, as Uddin was having trouble getting all of the money from his buyer in Illinois.

Mazharuddin further ignores his alleged involvement in setting up a purchase of contraband

cigarettes by Uddin and Sunnokrot, Mazharuddin’s business partner. The substantive count

against Mazharuddin alleges that he, Uddin, and Sunnokrot, as principals and aiders and

abettors, completed that transaction on March 7, 2012. Thus, contrary to Mazharuddin’s claim,

the indictment does allege that he participated in the charged transactions. Moreover, he cites

no authority for the contention that bringing buyer and seller of contraband items together, as

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is alleged here, fails to sufficiently charge a conspiracy. See, e.g., United States v. Gilmer, 534

F.3d 696, 703 (7th Cir. 2008) (finding evidence sufficient where the defendant served as an

intermediary in the conspiracy, bridging the divide between a willing buyer and seller). Nor

does it matter, for purposes of his aiding and abetting liability, that Mazharuddin may not have

been physically present for the actual purchase on March 7, 2012. See United States v.

George, 658 F.3d 706, 709 (7th Cir. 2011). For these reasons and those stated by the

magistrate judge, the motion to dismiss will be denied.1

                          II. MOTION FOR BILL OF PARTICULARS

A.     Applicable Legal Standards

       Under Fed. R. Crim. P. 7(f), the district court may in its discretion direct the government

to file a bill of particulars – a more specific expression of the crimes the defendant is accused

of having committed. United States v. Canino, 949 F.2d 928, 949 (7th Cir. 1991). The court

need not order a bill if “the government’s indictment sufficiently apprises the defendant of the

charges to enable him to prepare for trial.” Id. Nor is a bill of particulars required when

information necessary for a defendant’s defense can be obtained through some other


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         In his objections, Mazharuddin indicates that he also incorporates his original
arguments made to the magistrate judge. However, a general statement that a party
“incorporates all arguments previously made to the magistrate” does not suffice to trigger the
district court’s obligation to perform a de novo review. United States v. O’Neill, 27 F. Supp. 2d
1121, 1126 (E.D. Wis. 1998) (quoting United States v. Molinaro, 683 F. Supp. 205, 211 (E.D.
Wis. 1988)). In any event, the arguments in the original motion fail. Mazharuddin argued that
the indictment failed to allege sufficient facts regarding his knowledge that the cigarettes were
contraband; that he believed the transactions discussed were legitimate; and that the UC
pursued, prodded, and manipulated him. The indictment sets forth the applicable mens rea
element in charging the offenses; it need not explain precisely how that element will be proved.
Mazharuddin’s contentions regarding the evidence, which go beyond the four corners of the
indictment, are properly presented to the jury at trial. See United States v. DiFonzo, 603 F.2d
1260, 1263 (7th Cir. 1979) (“The defendant is not permitted to transcend the four-corners of
the indictment in order to demonstrate its insufficiency.”).

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satisfactory form, such a discovery. Id. This will often be the case when the government

maintains an “open file” policy providing the defendants with complete and open discovery of

all evidence assembled and revealed in the government’s investigation. Id.; see also United

States. v. Hernandez, 330 F.3d 964, 975 (7th Cir. 2003) (holding that the district court did not

abuse its discretion in denying a bill of particulars where information needed for the defense

was available in discovery).

B.     Analysis

       The magistrate judge denied Mazharuddin’s motion for a bill of particulars, noting that

the indictment describes the alleged conspiracy, the dates during which it was allegedly

operated, and the statutes violated. The substantive counts also set forth the relevant dates

and the number of contraband cigarettes involved in the particular offense. The magistrate

judge thus found that the indictment supplied sufficient information about the nature of the

charges to enable the defendants to adequately prepare for trial. The magistrate judge further

noted that the government is following its open file policy in this case, and that the defendants

had been provided discoverable material pursuant to that policy.

       In his objections, Mazharuddin concedes that the magistrate judge applied the correct

legal standard but argues that she erred in not requiring the bill in his case. He contends that

in his motion he sought specific, limited information essential to properly prepare his defense.

He further argues that the indictment in this case contains the sort of generalized charges

against which a bill of particulars is designed to protect.

       First, I have rejected Mazharuddin’s argument regarding the sufficiency of the

indictment. As discussed above, the indictment in this case supplies considerable detail

regarding the charged offenses, providing more than enough information to enable him to

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prepare his defense. Second, Mazharuddin does not even contend, much less show, that he

cannot obtain any additional information needed to prepare his defense from the open file

materials. Finally, as the government notes, Mazharuddin’s original motion reads like a request

for the evidentiary details of the government’s case, which he has no right to discover through

a bill of particulars. United States v. Brock, 863 F. Supp. 851, 867 (E.D. Wis. 1994) (citing

United States v. Glecier, 923 F.2d 496, 501-02 (7th Cir. 1991)). The magistrate judge did not

abuse her discretion or clearly err in denying this motion.

                                      III. CONCLUSION

       THEREFORE, IT IS ORDERED that the magistrate judge’s recommendation (R. 84) is

adopted, and defendant’s motion to dismiss the indictment (R. 71) is DENIED. The objection

to the magistrate judge’s order denying defendant’s motion for a bill of particulars is overruled.

       Dated at Milwaukee, Wisconsin, this 7th day of February, 2013.

                                           /s Lynn Adelman
                                           ______________________________
                                           LYNN ADELMAN
                                           District Judge




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